        Case 1:23-cv-03392-BAH Document 10-1 Filed 01/16/24 Page 1 of 2

                                        THE LAW OFFICE OF
                             JOSHUA M. AMBUSH, LLC
                   106 OLD COURT ROAD, SUITE 303, BALTIMORE, MARYLAND 21208
                             TEL: 410-484-2070 FAX: 410-484-9330
                                  jambush@ambushlaw.com

                                         January 16, 2024

Ms. Angela D. Caesar, Clerk of the Court
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Via electronic filing & hand delivery

       Re:     Breezee et al. v. Islamic Republic of Iran
               Civil Action No. 1:23-cv-03392-BAH
               Request for Service of Process on Defendant Islamic Republic of Iran Pursuant to
               28 U.S.C. § 1608(a)(4)

Dear Ms. Caesar:

        In connection with the above-captioned case, and pursuant to 28 U.S.C. § 1608(e), I am
writing to request service by the Clerk of the Court of the Complaint, Summons, and Notice of
Suit in this case, pursuant to 28 U.S.C. § 1608(a)(4), on defendant the Islamic Republic of Iran.

        For purposes of service, the above-named defendant is considered the “foreign state” of
the Islamic Republic of Iran under 28 U.S.C. §1608(a).

        This case was brought under 28 U.S.C. § 1605A against the defendant for material support
of terrorism in the Khobar Towers bombing in Saudi Arabia. Because this case is governed by the
Foreign Sovereign Immunities Act, service of the default judgment must be made by attempting
those methods listed in 28 U.S.C. § 1608(a)(1)-(4) in the order that they are listed in the statute.
Service on Iran cannot be made pursuant to subsections (a)(1) or (a)(2) of Section 1608 because
Iran has not entered into any special agreement regarding service with plaintiffs and because Iran
is not a signatory to any applicable international agreement regarding service.

       Service pursuant to 28 U.S.C. § 1608(a)(3) was attempted on Defendant Iran and has failed.
The service documents were sent to Defendant Iran via FedEx on January 3, 2024 international
waybill tracking number 817731560071. See ECF Nos. 8 & 9.

        FedEx was unable to deliver or serve the service documents and they were returned to the
undersigned on January 11, 2024. A copy of the FedEx return label, referencing original waybill
tracking number, 817731560071, is attached herein. Thus, service under 28 U.S.C. § 1608(a)(4)
is warranted here.

        In such circumstances, pursuant to 28 U.S.C. §1608(a)(4), the Clerk of Court shall send
two copies each of the summons, complaint, and notice of suit with any attachments, together with
a translation of each “by any form of mail requiring a signed receipt to be addressed and dispatched
        Case 1:23-cv-03392-BAH Document 10-1 Filed 01/16/24 Page 2 of 2




by the clerk of court to the Secretary of State in Washington, District of Columbia, to the attention
of the Director of Special Consular Services[.]” The Secretary of State shall then take steps to
effect service through diplomatic channels.

       Pursuant to 28 U.S.C. §1608(a)(4) and 22 C.F.R. §93.2, I have enclosed for service on the
defendant:

       1) Two copies of the Summons in this action addressed to Iran with accompanying
          translations into Farsi.
       2) Two copies of the Complaint in this action with accompanying translations into Farsi.
       3) Two copies of the Notice of Suit with accompanying translations into Farsi.
       4) Two copies of the FSIA as currently in force.
       5) Two copies of the Standing Order in Civil Cases.
       6) A check payable to the U.S. Department of State in the amount of $2,275 to cover the
          cost of service.

       Please take all necessary steps to dispatch the materials pursuant to 28 U.S.C. § 1608(a)(4)
to the U.S. Department of State, Office of Legal Affairs, Overseas Citizen Services, Bureau of
Consular Affairs, CA/OCS/L, SA-17, 10th Floor, Washington, DC 20522-1710, Attn: FSIA.

       I respectfully request that the documents and payment for service be mailed by FedEx to
the above address. I have enclosed a box for the materials with a prepaid electronic waybill. Thank
you very much for your assistance in this matter. Please do not hesitate to contact me with any
questions you have.


                                      Sincerely,



                                      Joshua M. Ambush

JMA/kc
Enclosures




                                                   2
